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   8                         UNITED STATES DISTRICT COURT
   9                        CENTRAL DISTRICT OF CALIFORNIA
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  11    JOSEPH CARRINGTON,                           Case No. 2:19-cv-02771-FLA (KES)
  12                 Petitioner,
  13          v.                                     ORDER ACCEPTING REPORT
                                                     AND RECOMMENDATION OF
  14    ROBERT NEUSCHMID,                            U.S. MAGISTRATE JUDGE
  15                 Respondent.
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  18         Pursuant to 28 U.S.C. § 636, the court has reviewed the First Amended
  19   Petition (Dkt. 7), the other records on file herein, and the Report and
  20   Recommendation of the U.S. Magistrate Judge regarding Ground Four of the First
  21   Amended Petition (Dkt. 41). No objections to the Report and Recommendation
  22   were filed, and the deadline for filing such objections has passed. The court accepts
  23   the report, findings, and recommendations of the U.S. Magistrate Judge.
  24         Grounds One through Three of the First Amended Petition were previously
  25   found to be unexhausted and dismissed without prejudice. (Dkt. 27, 28, 29.) The
  26   judgment dismissing those grounds was vacated after Petitioner successfully moved
  27   to reopen the case as to the exhausted Ground Four. (Dkt. 31.) However, the
  28   court’s finding that Grounds One through Three are unexhausted remains the law of
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   1   the case.
   2         IT IS THEREFORE ORDERED that Judgment be entered dismissing
   3   Grounds One through Three of the First Amended Petition without prejudice and
   4   dismissing Ground Four with prejudice.
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   6   DATED: October 1, 2021              ____________________________________
   7                                       FERNANDO L. AENLLE-ROCHA
                                           United States District Judge
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